68 F.3d 461
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.William T. PROCTOR, Petitioner-Appellant,v.WARDEN, NOTTOWAY CORRECTIONAL CENTER, Respondent-Appellee.
    No. 95-6154.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Oct. 12, 1995.Decided:  Oct. 23, 1995.
    
      William T. Proctor, Appellant Pro Se.
      Eugene Paul Murphy, OFFICE OF THE ATTORNEY GENERAL OF VIRGINIA, Richmond, Virginia, for Appellee.
      Before WILKINSON, NIEMEYER, and LUTTIG, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the magistrate judge's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.*  We have reviewed the record and the magistrate judge's opinion and find no reversible error.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the magistrate judge.  Proctor v. Warden, Nottoway, No. CA-94-829 (E.D.Va. Jan. 25, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    
      
        *
         The parties consented to jurisdiction of a magistrate judge pursuant to 28 U.S.C.A. Sec. 636(c) (West 1993)
      
    
    